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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA

                                               Alexandria Division



     BMG RIGHTS MANAGEMEN T(US)
     LLC,ei ai.

                                                                          Civil No. I:14-cv-1611
                                Plaintiffs.
                       V.
                                                                          i lon. L.iam O'Grady
     COX EN'I ERPRISES.INC., et al.

                                Defendants.


                                                       ORDER


          This malter comes before ihe Court on Defendant's Motion to Preclude Plainliffs

 Counsel from Making Argumentative and Inllammatory Statements and Legal Conclusions

 During Opening Statements (Dkt. 940). 'I'lie Court finds good cause to DENY the motion.

          Specifically, the Court does not find it appropriate to bur BMG from referring to

 copyright infringement as stealing, theft, or some other related term, as such language is not

 unduly prejudicial to Cox. The Court anticipates that counsel for both parties can and will abide

 by the rules during opening statements. If a party has good cause to object to a specific comment

 made by opposing counsel, the party may do so at that time,' The Court will then decide whether

 to sustain or overrule the objection.

          It is SO ORDERED.


                                                                                          /s/
 August{V20I8                                                          Llam O'Grady
 Alexandria. Virginia                                                  United States District JiMge



 ' Cox does noi deny that it tailed to object to what it now describes as "hiiihly prejudicial and improper" statements
 made during DMG's opening statements. Dkt. 981 at 2. Again, counsel should object to improper comments at the
 time such comments are made.

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